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UN|TED STATES OF AN|ER|CA

 

P|aintiff
VS.
CR. NO. 05-20134-D
RUSSELL JAIV|ES WARREN
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on August 25, 2005. At that time, counsel for
the defendant requested a continuance of the September 6, 2005 trial date in order to
allow for additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a
onrt date of Thur§_c_i_§v. September 22, 2005l at 9:00 a.m., in Courtroom 3, ch F|oor
of the Federa| Building, lVlemphis, TN.

The period from September ‘|6, 2005 through October 14, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for
additional time to prepare outweigh the need for a speedy tria|.

iT is so oRoEREo this Z¢¢(day of september, 2005.

  
 
   

B RN|CE B. ONALD
|TED STATES D|STR|CT JUDGE

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with Fiuie c"'.` act I.-"or 32(5) FHCrP on _éz ' "O :§

 

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This notice confirms a copy of the document docketed as number 24 in
case 2:05-CR-20134 Was distributed by faX, mail, or direct printing on
September 9, 2005 to the parties listed.

 

 

Dan Newsom

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Honorable Bernice Donald
US DISTRICT COURT

